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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF KENTUCKY
UNITED STATES OF AMERICA ,

Plaintiff(s),
CASE NO. 10 CR 35-H

)

)

)

)

v. )
)

RODRIGO MACTIAS-FARIAS, )
)

)

Defendant(s).

AFFIDAVIT IN SUPPORT OF MOTION FOR LEAVE TO APPEAR PRO HAC VICE

Pursuant to LR 83.2 AND LCrR 57.2, I declare that the following facts are true, to the best of
my knowledge, information and belief:
1. My full name is: Sally Pissetzky
2. I practice under the following firm name or letterhead:
Name: Pissetzky & Berliner LLC
Address: 53 W. Jackson Blvd.
Suite 1430
Chicago, IL 60604
Telephone Number: (312)566-9900
Fax: (312)939-1616
Email address: sallyp@pbzlawfirm.com
3. I have been admitted to practice in the following courts: Illinois Supreme Court; United
States Court of Appeals for the Seventh Circuit; Northern District of Ilinois.

4. I consent to the exercise of disciplinary jurisdiction over any alleged misconduct that occurs

during the progress of this case.
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5. I am in good standing in all bars of which J am a member.
6. No disciplinary or grievance proceedings have been previously filed against me.
7. No disciplinary or grievance proceedings are pending against me in any jurisdiction.

8. I have not been charged in any court of the United States or of any state, territory or

possession of the United States with the commission of a felony or unprofessional conduct.

Sally Zo Ls

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; OFFICIAL SEAL
HERMINIA RIVERA

‘ NOTARY PUBLIC - STATE OF ILLINOIS
$ Y COMMISSION EXPIRES: 03/30/12

